                     Case 20-33568 Document 1 Filed in TXSB on 07/15/20 Page 1 of 20

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 Southern
 ____________________             Texas
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                     Check if this is an
                                                                                                                                        amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          02/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                               California Resources Corporation
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___ 6 – ___
                                                       5 ___
                                                          6 ___
                                                             7 ___
                                                                0 ___
                                                                   9 ___
                                                                      4 ___
                                                                         7
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                  Mailing address, if different from principal place
                                                                                                           of business

                                                  27200 Tourney Road
                                              ______________________________________________               _______________________________________________
                                              Number     Street                                            Number     Street

                                                  Suite 200
                                              ______________________________________________               _______________________________________________
                                                                                                           P.O. Box

                                                  Santa Clarita                CA         91355
                                              ______________________________________________               _______________________________________________
                                              City                        State    ZIP Code                City                      State      ZIP Code


                                                                                                           Location of principal assets, if different from
                                                                                                           principal place of business
                                                  Los Angeles
                                              ______________________________________________
                                              County                                                       _______________________________________________
                                                                                                           Number     Street

                                                                                                           _______________________________________________

                                                                                                           _______________________________________________
                                                                                                           City                      State      ZIP Code




 5.   Debtor’s website (URL)                      https://crc.com
                                              ____________________________________________________________________________________________________




Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor         California Resources Corporation
              _______________________________________________________                       Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                            5 ___
                                           ___ 5 ___
                                                  1 ___
                                                     1

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $2,725,625 (amount subject to adjustment on
                                                            4/01/22 and every 3 years after that).
                                                        
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                           A plan is being filed with this petition.

                                                           Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                           The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                           The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes.    District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


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 Debtor              California Resources Corporation
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name



     10.   Are any bankruptcy cases                  No
           pending or being filed by a                                 See Annex 1
           business partner or an                    Yes.     Debtor _____________________________________________ Relationship _________________________
           affiliate of the debtor?                            District _____________________________________________ When                __________________
           List all cases. If more than 1,                                                                                                MM / DD / YYYY
           attach a separate list.                             Case number, if known ________________________________



     11.   Why is the case filed in this            Check all that apply:
           district?
                                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                        immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                        district.

                                                     A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

     12.   Does the debtor own or have               No
           possession of any real                    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
           property or personal property
           that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
           attention?
                                                                 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                  What is the hazard? _____________________________________________________________________

                                                                 It needs to be physically secured or protected from the weather.

                                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                  attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                  assets or other options).

                                                                 Other _______________________________________________________________________________



                                                              Where is the property?_____________________________________________________________________
                                                                                              Number       Street

                                                                                              ____________________________________________________________________

                                                                                              _______________________________________    _______ ________________
                                                                                              City                                       State ZIP Code


                                                              Is the property insured?
                                                                 No
                                                                 Yes. Insurance agency ____________________________________________________________________

                                                                        Contact name          ____________________________________________________________________

                                                                        Phone                 ________________________________




                   Statistical and administrative information



     13.   Debtor’s estimation of                   Check one:
           available funds                           Funds will be available for distribution to unsecured creditors.
                                                     After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                     1-49                               1,000-5,000                             25,001-50,000
     14.   Estimated number of                       50-99                              5,001-10,000                            50,001-100,000
           creditors 
                                                     100-199                            10,001-25,000                           More than 100,000
                                                     200-999

     Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 3


     7KHHVWLPDWHGQXPEHURIFUHGLWRUVLVSURYLGHGRQDFRQVROLGDWHGEDVLVIRUDOOGHEWRUV
                             Case 20-33568 Document 1 Filed in TXSB on 07/15/20 Page 4 of 20

    Debtor           California Resources Corporation
                    _______________________________________________________                                  Case number (if known)_____________________________________
                    Name



                                                       $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
     15.   Estimated assets                           $50,001-$100,000                    $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                                       $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                                       $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion

                                                       $0-$50,000                          $1,000,001-$10 million                    $500,000,001-$1 billion
     16.   Estimated liabilities                      $50,001-$100,000                    $10,000,001-$50 million                   $1,000,000,001-$10 billion
                                                       $100,001-$500,000                   $50,000,001-$100 million                  $10,000,000,001-$50 billion
                                                       $500,001-$1 million                 $100,000,001-$500 million                 More than $50 billion


                   Request for Relief, Declaration, and Signatures


     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
                $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


     17.   Declaration and signature of               Q    The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
           authorized representative of
                                                           petition.
           debtor
                                                      Q    I have been authorized to file this petition on behalf of the debtor.

                                                      Q    I have examined the information in this petition and have a reasonable belief that the information is true and
                                                           correct.


                                                      I declare under penalty of perjury that the foregoing is true and correct.

                                                                       07 / 15 / 2020
                                                          Executed on _________________
                                                                      MM / DD / YYYY


                                                      8     /s/ Todd A. Stevens
                                                           _____________________________________________                Todd A. Stevens
                                                                                                                       _______________________________________________
                                                          Signature of authorized representative of debtor             Printed name

                                                                 President and Chief Executive Officer
                                                          Title _________________________________________




     18.   Signature of attorney
                                                      8     /s/ Paul E. Heath
                                                           _____________________________________________               Date
                                                                                                                                      07 / 15 / 2020
                                                                                                                                   _________________
                                                           Signature of attorney for debtor                                        MM     / DD / YYYY



                                                           Paul E. Heath
                                                          _________________________________________________________________________________________________
                                                          Printed name
                                                           Vinson & Elkins LLP
                                                          _________________________________________________________________________________________________
                                                          Firm name
                                                          1001        Fannin Street, Suite 2500
                                                          _________________________________________________________________________________________________
                                                          Number     Street
                                                           Houston
                                                          ____________________________________________________             TX
                                                                                                                          ____________  77002-6760
                                                                                                                                       ______________________________
                                                          City                                                            State        ZIP Code

                                                           (713) 758-2222
                                                          ____________________________________                             pheath@velaw.com
                                                                                                                          __________________________________________
                                                          Contact phone                                                   Email address



                                                           09355050
                                                          ______________________________________________________  TX
                                                                                                                 ____________
                                                          Bar number                                             State




     Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4

     7KHHVWLPDWHGDVVHWVDQGHVWLPDWHGOLDELOLWLHVDUHSURYLGHGRQDFRQVROLGDWHGEDVLVIRUDOOGHEWRUV
          Case 20-33568 Document 1 Filed in TXSB on 07/15/20 Page 5 of 20




                                             ANNEX 1

          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in this Court for relief under Chapter 11 of Title 11 of the United States Code. The
Debtors have moved for joint administration of these cases under the case number assigned to
the Chapter 11 case of California Resources Corporation.

    1. California Resources Corporation
    2. California Heavy Oil, Inc.
    3. California Resources Coles Levee, L.P.
    4. California Resources Coles Levee, LLC
    5. California Resources Elk Hills, LLC
    6. California Resources Long Beach, Inc.
    7. California Resources Mineral Holdings LLC
    8. California Resources Petroleum Corporation
    9. California Resources Production Corporation
    10. California Resources Production Mineral Holdings, LLC
    11. California Resources Real Estate Ventures, LLC
    12. California Resources Royalty Holdings, LLC
    13. California Resources Tidelands, Inc.
    14. California Resources Wilmington, LLC
    15. CRC Construction Services, LLC
    16. CRC Marketing, Inc.
    17. CRC Services, LLC
    18. Monument Production, Inc.
    19. Oso Verde Farms, LLC
    20. Socal Holding, LLC
    21. Southern San Joaquin Production, Inc.
    22. Thums Long Beach Company
    23. Tidelands Oil Production Company LLC




SC1:5199941.5
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Official Form 201A (12/15)

                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                           HOUSTON DIVISION
     ____________________________________________
                                                  x         Chapter 11
     In re                                        :
                                                  :         Case No. (20-_____) (__)
     CALIFORNIA RESOURCES CORPORATION, :
     et al.,                                      :         Joint Administration Pending
                                                  :
                                  Debtors.        :
     ____________________________________________x



                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _001-36478______.

            2. The following financial data is the latest available information and refers to the debtor=s condition on
        __03/31/2020________.
              a. Total assets                                                              $ 4,068,000,000

              b. Total debts (including debts listed in 2.c., below)                       $ 6,116,000,000
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated        G    $
              secured        G   unsecured   G    subordinated        G    $
              secured        G   unsecured   G    subordinated        G    $
              secured        G   unsecured   G    subordinated        G    $
              secured        G   unsecured   G    subordinated        G    $

              d. Number of shares of preferred stock                                                                         0
              e. Number of shares common stock                                                                               49,453,297

              Comments, if any:



            3. Brief description of debtor=s business:              Independent oil and natural gas exploration and
         production company


            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        The Vanguard Group and BlackRock, Inc.


        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                    Case 20-33568 Document 1 Filed in TXSB on 07/15/20 Page 7 of 20


     Fill in this information to identify the case:
     Debtor name CALIFORNIA RESOURCES CORPORATION, et al.
     United States Bankruptcy Court for the: Southern District of Texas Houston Division
     Case number (If known): ___________                                                                                                                   Check if this is an
                                                                                                                                                            amended filing
     Official Form 204

     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured
     Claims and Are Not Insiders                                                                 12/15
     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include claims by any person or entity
     who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among
     the holders of the 30 largest unsecured claims.

     Name of creditor and complete mailing address, Name, telephone number, and email address of creditor           Nature of the       Indicate if claim    Amount of unsecured claim
     including zip code                             contact                                                         claim (for         is contingent,        If the claim is fully unsecured, fill in only
                                                                                                                    example, trade     unliquidated, or      unsecured claim amount. If claim is partially
                                                                                                                    debts, bank loans, disputed              secured, fill in total claim amount and deduction
                                                                                                                    professional                             for value of collateral or setoff to calculate
                                                                                                                    services, and                            unsecured claim.
                                                                                                                    government                               Total claim, Deduction             Unsecured claim
                                                                                                                    contracts)                               if partially      for value of
                                                                                                                                                             secured           collateral or
                                                                                                                                                                               setoff
     WILMINGTON TRUST, N.A., AS
     ADMINISTRATIVE AGENT
     ATTN: HALLIE E. FIELD                              HALLIE E. FIELD
     VICE PRESIDENT                                     EMAIL - HFIELD@WILMINGTONTRUST.COM
 1                                                                                                                   Unsecured Notes                                                            $144,279,000
     50 SOUTH SIXTH STREET                              PHONE - 612-217-5644
     SUITE 1290                                         FAX - 612-217-5651
     MINNEAPOLIS, MN 55402
     UNITED STATES
     KERN COUNTY
     ATTN: KATHLEEN FRAUSE                              KATHLEEN FRAUSE
     CLERK OF THE BOARD                                 EMAIL - CAOMAILBOX@KERNCOUNTY.COM
 2                                                                                                                      Tax Claim                                                               $25,491,014
     1115 TRUXTUN AVENUE, 5TH FLOOR                     PHONE - 661-868-3140
     BAKERSFIELD, CA 93301                              FAX - 661-868-3100
     UNITED STATES
     SOUTHERN CALIFORNIA EDISON CO
     ATTN: CHUCK WILSON
     SCE ACCOUNT EXECUTIVE                              CHUCK WILSON
 3   6 POINTE DR 4TH FLR                                EMAIL - CHARLES.L.WILSON@SCE.COM                               Trade Claim         Unliquidated                                         Undetermined
     AJAYKUMAR BHAVSAR                                  PHONE - 805-654-7103
     BREA, CA 92821
     UNITED STATES
     MACPHERSON OIL COMPANY LLC
                                                        DON MACPHERSON
     ATTN: DON MACPHERSON
                                                        EMAIL - RKIM@MACPHERSONENERGY.COM
     CHAIRMAN AND CEO
 4                                                      (RUBIN KIM, VP OF FINANCE)                                     Trade Claim         Unliquidated                                         Undetermined
     100 WILSHIRE, SUITE 800
                                                        PHONE - 310-452-3880
     SANTA MONICA, CA 90401
                                                        FAX - 310-452-0058
     UNITED STATES
     CRIMSON RESOURCES MANAGEMENT                       GARY BUNTMANN
     ATTN: GARY BUNTMANN                                EMAIL - AMARION@CRIMSONRM;
     CEO & PRESIDENT                                    GBUNTMANN@CRIMSONRM.COM
 5                                                                                                                     Trade Claim         Unliquidated                                         Undetermined
     410 17TH ST STE 1010                               PHONE - 303-892-9333
     DENVER, CO 80202                                   FAX - 303-825-1035
     UNITED STATES                                      303-327-7660
     ENSIGN UNITED STATES DRILLING
     CALIFORNIA INC
                                                        R.H. (BOB) GEDDES
     ATTN: R.H. (BOB) GEDDES
                                                        EMAIL - INFO@ENSIGNENERGY.COM
 6   PRESIDENT & COO                                                                                                   Trade Claim                                                               $2,712,656
                                                        PHONE - 403-262-1361
     7001 CHARITY AVE
                                                        FAX - 403-262-8215
     BAKERSFIELD, CA 93308-5824
     UNITED STATES
     PACIFIC GAS & ELECTRIC CO
     ATTN: DENISE NEWTON
                                                        DENISE NEWTON
     PGE ACCOUNT MANAGER
 7                                                      EMAIL - DAN8@PGE.COM                                           Trade Claim         Unliquidated                                         Undetermined
     4101 WIBLE RD
                                                        PHONE - 661-398-5950 or 661-754-4000
     BAKERSFIELD, CA 93313
     UNITED STATES
     ARB INC
     ATTN: SCOTT SUMMERS                                SCOTT SUMMERS
     PRESIDENT                                          EMAIL - SSUMMERS@ARBINC.COM
 8                                                                                                                     Trade Claim                                                               $1,996,959
     26000 COMMERCENTRE DR                              PHONE - 949-598-9242
     LAKE FOREST, CA 92630-8816                         FAX - 949-595-5526
     UNITED STATES
     VENTURA COUNTY
     ATTN: STEVEN HINTZ                                 STEVEN HINTZ
     TAX COLLECTOR                                      EMAIL - STEVEN.HINTZ@VENTURA.ORG
 9                                                                                                                      Tax Claim                                                                $1,915,147
     800 S. VICTORIA AVE.                               PHONE - 805-654-5000
     VENTURA, CA 93009                                  FAX - 805-388 5318
     UNITED STATES




Official Form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                        Page 1
                                   Case 20-33568 Document 1 Filed in TXSB on 07/15/20 Page 8 of 20
Debtor name CALIFORNIA RESOURCES CORPORATION, et al.                                                                                                            Case number (if known): ________________

      Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the       Indicate if claim   Amount of unsecured claim
      including zip code                             contact                                                 claim (for         is contingent,       If the claim is fully unsecured, fill in only
                                                                                                             example, trade     unliquidated, or     unsecured claim amount. If claim is partially
                                                                                                             debts, bank loans, disputed             secured, fill in total claim amount and deduction
                                                                                                             professional                            for value of collateral or setoff to calculate
                                                                                                             services, and                           unsecured claim.
                                                                                                             government                              Total claim, Deduction             Unsecured claim
                                                                                                             contracts)                              if partially      for value of
                                                                                                                                                     secured           collateral or
                                                                                                                                                                       setoff
    SCHULTZ MECHANICAL CONTRACTORS INC
    ATTN: MIKE TEAGUE                                MIKE TEAGUE
    LABOR RELATIONS MANAGER                          EMAIL - MTEAGUE@SCHULTZINDUSTRIAL.COM
 10                                                                                                             Trade Claim                                                              $1,839,318
    3323 LIME AVE                                    PHONE - 562-595-8596
    SIGNAL HILL, CA 90755                            FAX - 562-426-3037
    UNITED STATES
      ORANGE COUNTY CA
      ATTN: SHARI L. FRIEDENRICH                     SHARI L. FRIEDENRICH
      TAX COLLECTOR                                  EMAIL - TREASURER@TTC.OCGOV.COM
 11                                                                                                              Tax Claim                                                               $1,710,448
      601 NORTH ROSS ST., SECOND FLOOR               PHONE - 714-834-7625
      SANTA ANA, CA 92702-4515                       FAX - 714-834-2912
      UNITED STATES
      KENAI DRILLING LTD
      ATTN: DONNA MARIER                             DONNA MARIER
      ACCOUNTING MANAGER                             EMAIL - DMARIER@KENAIDRILLING.COM
 12                                                                                                             Trade Claim                                                              $1,518,000
      6430 CAT CANYON RD.                            PHONE - 805-937-7871
      SANTA MARIA, CA 93454                          FAX - 805-937-4768
      UNITED STATES
      KVS TRANSPORTATION INC
      ATTN: DANNY SHAFFER                            DANNY SHAFFER
      PRESIDENT                                      EMAIL - AR SUPERVISOR: ANH.NGO@CJES.COM
 13                                                                                                             Trade Claim                                                              $1,421,776
      3752 ALLEN RD                                  PHONE - 661-589-5220
      BAKERSFIELD, CA 93314                          FAX - 661-589-7143
      UNITED STATES
      GARTNER INC
                                                     EUGENE HALL
      ATTN: EUGENE HALL
                                                     EMAIL - EUGENE.HALL@GARTNER.COM;
      CEO
 14                                                  PRIVACY@GARTNER.COM                                        Trade Claim                                                              $1,061,678
      56 TOP GALLANT ROAD
                                                     PHONE - 203-964-0096
      STAMFORD, CT 06902
                                                     FAX - 203-234-7901
      UNITED STATES
      LIBERTY LIFT SOLUTIONS LLC
      ATTN: BOBBY EVANS                              BOBBY EVANS
      PRESIDENT & CEO                                EMAIL - BOBBY.EVANS@LIBERTYLIFT.COM
 15                                                                                                             Trade Claim                                                               $935,772
      16420 PARK TEN PL, STE 300                     PHONE - 713-575-2300
      HOUSTON , TX 77084                             FAX - 713-396-5493
      UNITED STATES
      BRINDERSON LP
      ATTN: RUSSELL CONDASAID                        RUSSELL CONDASAID
      PRESIDENT                                      EMAIL - JPRICE@BRINDERSON.COM
 16                                                                                                             Trade Claim                                                               $903,032
      19000 MACARTHUR BLVD STE 800                   PHONE - 714-465-0523
      IRVINE, CA 92612                               FAX - 714-466-7320
      UNITED STATES
      UNIVERSAL PLANT SERVICES OF
      CALIFORNIA INC
                                                     BRADLEY JONES
      ATTN: BRADLEY JONES
                                                     EMAIL - UPSESOURCING@UNIVERSALPLANT.COM
 17   PRESIDENT                                                                                                 Trade Claim                                                               $875,329
                                                     PHONE - 310-618-1600
      20545 A BELSHAW AVE
                                                     FAX - 310-618-1300
      CARSON, CA 90746
      UNITED STATES
      CONTRA COSTA ELECTRIC INC
      ATTN: MICHAEL DIAS                             MICHAEL DIAS
      CEO                                            EMAIL - DBRAWNER@CCELECTRIC.COM
 18                                                                                                             Trade Claim                                                               $827,540
      825 HOWE RD                                    PHONE - 925-229-4250
      MARTINEZ, CA 94553                             FAX - 925-228-3265
      UNITED STATES
      SPEC SERVICES INC
      ATTN: KIM HENRY
                                                     KIM HENRY
      CEO, PRESIDENT
                                                     EMAIL - INFO@SPECSERVICES.COM
 19   10540 TALBERT AVE                                                                                         Trade Claim                                                               $812,985
                                                     PHONE - 714-963-8077
      STE 100 E
                                                     FAX - 714-963-0364
      FOUNTAIN VALLEY, CA 92708
      UNITED STATES
      BASIC ENERGY SERVICES LP
      ATTN: KEITH SCHILLING
                                                     KEITH SCHILLING
      CEO, PRESIDENT
                                                     EMAIL - BASICENERGYSERVICES.ETHICSPOINT.COM
 20   801 CHERRY STREET                                                                                         Trade Claim                                                               $596,840
                                                     PHONE - 817-334-4100
      SUITE 2100
                                                     FAX - 432-570-0437
      FORT WORTH, TX 76102
      UNITED STATES
      NAME ON FILE                                   EMPLOYEE 1
      ATTN: EMPLOYEE 1                               EMAIL -
 21                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -




Official Form 204                              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims                                                                  Page 2
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Debtor name CALIFORNIA RESOURCES CORPORATION, et al.                                                                                                            Case number (if known): ________________

      Name of creditor and complete mailing address, Name, telephone number, and email address of creditor   Nature of the       Indicate if claim   Amount of unsecured claim
      including zip code                             contact                                                 claim (for         is contingent,       If the claim is fully unsecured, fill in only
                                                                                                             example, trade     unliquidated, or     unsecured claim amount. If claim is partially
                                                                                                             debts, bank loans, disputed             secured, fill in total claim amount and deduction
                                                                                                             professional                            for value of collateral or setoff to calculate
                                                                                                             services, and                           unsecured claim.
                                                                                                             government                              Total claim, Deduction             Unsecured claim
                                                                                                             contracts)                              if partially      for value of
                                                                                                                                                     secured           collateral or
                                                                                                                                                                       setoff
      NAME ON FILE                                   EMPLOYEE 2
      ATTN: EMPLOYEE 2                               EMAIL -
 22                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 3
      ATTN: EMPLOYEE 3                               EMAIL -
 23                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 4
      ATTN: EMPLOYEE 4                               EMAIL -
 24                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 5
      ATTN: EMPLOYEE 5                               EMAIL -
 25                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 6
      ATTN: EMPLOYEE 6                               EMAIL -
 26                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 7
      ATTN: EMPLOYEE 7                               EMAIL -
 27                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 8
      ATTN: EMPLOYEE 8                               EMAIL -
 28                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 9
      ATTN: EMPLOYEE 9                               EMAIL -
 29                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -
      NAME ON FILE                                   EMPLOYEE 10
      ATTN: EMPLOYEE 10                              EMAIL -
 30                                                                                                           Employee Claim                                                            Undetermined
      ADDRESS ON FILE                                PHONE -
                                                     FAX -




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               IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
____________________________________________
                                             x
                                             : Chapter 11
In re                                        :
                                             : Case No. (20-_____) (__)
CALIFORNIA RESOURCES CORPORATION,            :
et al.,1                                     : Joint Administration Pending
                                             :
                             Debtors.        :
____________________________________________ x

                         CORPORATE OWNERSHIP STATEMENT AND
                           LIST OF EQUITY SECURITY HOLDERS2

                 Pursuant to rules 1007(a)(1), 1007(a)(3) and 7007.1 of the Federal Rules of

Bankruptcy Procedure, California Resources Corporation (“CRC”), on behalf of itself and

certain of its affiliates as debtors and debtors-in-possession (collectively, the “Debtors”),

respectfully represents:

                 1.       7.47% of CRC is owned by The Vanguard Group, 100 Vanguard




1
    The Debtors in these chapter 11 cases and the last four digits of their U.S. taxpayer identification numbers
    are: California Resources Corporation (0947); California Heavy Oil, Inc. (4630); California Resources Coles
    Levee, L.P. (2995); California Resources Coles Levee, LLC (2087); California Resources Elk Hills, LLC
    (7310); California Resources Long Beach, Inc. (6046); California Resources Mineral Holdings LLC (4443);
    California Resources Petroleum Corporation (9218); California Resources Production Corporation (5342);
    California Resources Production Mineral Holdings, LLC (9071); California Resources Real Estate Ventures,
    LLC (6931); California Resources Royalty Holdings, LLC (6393); California Resources Tidelands, Inc. (0192);
    California Resources Wilmington, LLC (0263); CRC Construction Services, LLC (7030); CRC Marketing, Inc.
    (0941); CRC Services, LLC (6989); Monument Production, Inc. (0782); Oso Verde Farms, LLC (7436); Socal
    Holding, LLC (3524); Southern San Joaquin Production, Inc. (4423); Thums Long Beach Company (1774);
    Tidelands Oil Production Company LLC (5764). The Debtors’ corporate headquarters is located at 27200
    Tourney Road, Suite 200, Santa Clarita, CA 91355.
2
    This list reflects holders of five percent or more of CRC’s common stock. This list serves as the disclosure
    required to be made by the Debtors pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure.
    Pursuant to the Debtors’ Emergency Motion for an Order (I) Extending the Time to File (A) Schedules of Assets
    And Liabilities, (B) Schedules of Current Income and Expenditures, (C) Schedules of Executory Contracts and
    Unexpired Leases, (D) Statements of Financial Affairs, and (E) Rule 2015.3 Financial Reports; (II) Waiving the
    Requirement to File a List of Equity Security Holders; and (III) Granting Related Relief filed
    contemporaneously herewith, is the Debtors are requesting a waiver of the requirement under rule 1007 to file a
    list of all of CRC’s equity security holders.



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Boulevard, Malvern, PA 19355; and 6.30% of CRC is owned by Blackrock Inc. 55 East 52nd

Street, New York, NY 10055.

                2.    100% of California Heavy Oil, Inc. is owned by CRC, 27200 Tourney

Road, Suite 200, Santa Clarita, CA 91355.

                3.    100% of California Resources Elk Hills, LLC is owned by CRC, 27200

Tourney Road, Suite 200, Santa Clarita, CA 91355.

                4.    100% of California Resources Coles Levee, LLC is owned by California

Resources Elk Hills, LLC, 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                5.    100% of California Resources Long Beach, Inc. is owned by CRC, 27200

Tourney Road, Suite 200, Santa Clarita, CA 91355.

                6.    100% of Thums Long Beach Company is owned by California Resources

Long Beach, Inc., 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                7.    100% of California Resources Tidelands, Inc. is owned by California

Resources Long Beach, Inc., 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                8.    100% of California Resources Wilmington, LLC is owned by California

Resources Tidelands, Inc., 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                9.    75% of Tidelands Oil Production Company LLC is owned by California

Resources Tidelands, Inc., 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355; and 25%

of Tidelands Oil Production Company LLC is owned by California Resources Wilmington, LLC,

27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                10.   100% of California Resources Mineral Holdings LLC is owned by CRC,

27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.




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                11.   100% of California Resources Petroleum Corporation is owned by CRC,

27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                12.   100% of the limited partnership interest in California Resources Coles

Levee, L.P. is owned by California Resources Petroleum Corporation, 27200 Tourney Road,

Suite 200, Santa Clarita, CA 91355. The general partner of California Resources Coles Levee,

L.P. is California Resources Coles Levee, LLC, 27200 Tourney Road, Suite 200, Santa Clarita,

CA 91355.

                13.   100% of California Resources Production Corporation is owned by CRC,

27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                14.   100% of Monument Production, Inc. is owned by California Resources

Production Corporation, 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                15.   100% of California Resources Production Mineral Holdings, LLC is

owned by CRC, 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                16.   100% of California Resources Real Estate Ventures, LLC is owned by

CRC, 27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                17.   100% of California Resources Royalty Holdings, LLC is owned by CRC,

27200 Tourney Road, Suite 200, Santa Clarita, CA 91355.

                18.   100% of CRC Construction Services, LLC is owned by CRC, 27200

Tourney Road, Suite 200, Santa Clarita, CA 91355.

                19.   100% of CRC Marketing, Inc. is owned by CRC, 27200 Tourney Road,

Suite 200, Santa Clarita, CA 91355.

                20.   100% of CRC Services, LLC is owned by CRC, 27200 Tourney Road,

Suite 200, Santa Clarita, CA 91355.




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                21.   100% of Oso Verde Farms, LLC is owned by CRC, 27200 Tourney Road,

Suite 200, Santa Clarita, CA 91355.

                22.   100% of Socal Holding, LLC is owned by CRC, 27200 Tourney Road,

Suite 200, Santa Clarita, CA 91355.

                23.   100% of Southern San Joaquin Production, Inc. is owned by CRC, 27200

Tourney Road, Suite 200, Santa Clarita, CA 91355.




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 Fill in this information to identify the case and this filing:


              California Resources Corporation
 Debtor Name __________________________________________________________________
                                         Southern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 0 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                       Corporate Ownership Statement
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    07/ 15 / 2020
        Executed on ______________                         8    /s/ Todd A. Stevens
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Todd A. Stevens
                                                                ________________________________________________________________________
                                                                Printed name

                                                                President and Chief Executive Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                       CALIFORNIA RESOURCES CORPORATION

                                SECRETARY’S CERTIFICATE

                                           July 15, 2020

        This Secretary’s Certificate (this “Certificate”) is delivered by Michael L. Preston, in his
capacity as the duly elected or appointed Senior Executive Vice President, Chief Administrative
Officer, General Counsel and Corporate Secretary of California Resources Corporation (the
“Company”). The undersigned hereby certifies, in such capacity (and not in his individual
capacity), that attached hereto as Exhibit A are true, correct and complete copies of the resolutions
adopted by the Board of Directors of the Company, authorizing the filing of the Petition (as defined
therein) and any documents related thereto. The aforementioned resolutions have not been
amended, rescinded or modified since their adoption and execution, and remain in full force and
effect as of the date hereof.




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                IN WITNESS WHEREOF, the undersigned has executed this certificate as of the
date first above written.



                                            Name:     Michael L. Preston
                                            Title:    Senior Executive Vice President, Chief
                                                      Administrative Officer, General Counsel
                                                      and Corporate Secretary




            Signature Page to Secretary’s Certificate of California Resources Corporation


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                                    Exhibit A

                                    Resolutions

                                   [See attached]




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                                                                                Execution Version

                                 RESOLUTIONS OF
                            THE BOARD OF DIRECTORS OF
                        CALIFORNIA RESOURCES CORPORATION

         Voluntary Petition and Bankruptcy Case

        WHEREAS, the Board has reviewed and discussed the financial and operational
condition of the Company and the Company’s business on the date hereof, including the current
and historical performance of the Company, the assets and liquidity of the Company, the current
and long-term liabilities of the Company, credit and energy market conditions and commodity
prices;

         WHEREAS, the Board has received, reviewed, and discussed the recommendations of
management of the Company and the Company’s legal, financial, and other advisors as to the
relative risks and benefits of the strategic alternatives available to the Company, including a
bankruptcy proceeding (the “Bankruptcy Case”) under the provisions of Chapter 11 of Title 11
of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and has discussed
forms or descriptions of the key “first day” and “second day” filings that would be proposed to be
made by the Company in connection with the Bankruptcy Case (the “Initial Filings”);

        WHEREAS, after review and discussion and due consideration of all of the information
presented to the Board, the Board deems it advisable and in the best interests of the Company, its
shareholders, its creditors, its subsidiaries, stakeholders, and other interested parties, for the
Company to commence the Bankruptcy Case by filing a voluntary petition for relief under the
provisions of the Bankruptcy Code (the “Petition”);

        WHEREAS, the Board deems it advisable and in the best interests of the Company, its
shareholders, its creditors, its subsidiaries, stakeholders, and other interested parties for the
Company to make the Initial Filings and to conduct the business of the Company as contemplated
thereby;

        NOW, THEREFORE BE IT RESOLVED, that in the judgment of the Board, it is
desirable and in the best interests of the Company, its shareholders, its creditors, its subsidiaries,
stakeholders, and other interested parties that the Petition and the Initial Filings be filed by the
Company in the United States Bankruptcy Court for the Southern District of Texas (the
“Bankruptcy Court”); and be it further

        RESOLVED, that the Company shall be, and hereby is, authorized, directed and
empowered (i) to file the Petition and the Initial Filings and (ii) to perform any and all such acts
as are reasonable, advisable, expedient, convenient, proper or necessary to effect the foregoing;
and be it further

         RESOLVED, that any director or officer of the Company (each, a “Designated Person”
and collectively, the “Designated Persons”) be, and each of them, acting alone, hereby is,
authorized, directed and empowered, on behalf of and in the name of the Company to execute and
verify the Petition and the Initial Filings as well as all other ancillary documents and to cause the
Petition and the Initial Filings to be filed with the Bankruptcy Court, and to make or cause to be
made prior to the execution thereof any modifications to the Petition, the Initial Filings, or any
ancillary documents, and to execute, verify and file or cause to be filed all petitions, schedules,
lists, motions, applications and other papers or documents, agreements, deeds, letters, instruments
or certificates necessary or desirable in connection with any of the foregoing; and be it further



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                                                                                                 2

         RESOLVED, that the law firm of Sullivan & Cromwell LLP (“S&C”) be, and hereby is,
authorized, empowered and directed to represent the Company as its general bankruptcy counsel
in connection with the Bankruptcy Case, to represent and assist the Company in carrying out its
duties under the Bankruptcy Code and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Bankruptcy Case; and in
connection therewith, the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of S&C; and be it further

         RESOLVED, that the law firm of Vinson & Elkins LLP (“V&E”) be, and hereby is,
authorized, empowered and directed to represent the Company as bankruptcy co-counsel in
connection with the Bankruptcy Case, to represent and assist the Company in carrying out its
duties under the Bankruptcy Code and to take any and all actions to advance the Company’s
rights, including the preparation of pleadings and filings in the Bankruptcy Case; and in
connection therewith, the Designated Persons be and each of them, acting alone or in any
combination, hereby is, authorized, directed and empowered, on behalf of and in the name of the
Company to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the Bankruptcy Case, and to cause to be filed an appropriate
application for authority to retain the services of V&E; and be it further

         RESOLVED, that the investment bank of Perella Weinberg Partners (“Perella”) be, and
hereby is, engaged to provide investment banking and other related services to the Company in
the Bankruptcy Case; and in connection therewith, the Designated Persons be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Company to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of Perella; and be it further

         RESOLVED, that the firm of Alvarez & Marsal North America, LLC (“A&M”) be, and
hereby is, engaged to provide restructuring advice and other related services to the Company in
the Bankruptcy Case; and in connection therewith, the Designated Persons be and each of them,
acting alone or in any combination, hereby is, authorized, directed and empowered, on behalf of
and in the name of the Company, to execute appropriate retention agreements, pay appropriate
retainers prior to and immediately upon the filing of the Bankruptcy Case, and to cause to be filed
an appropriate application for authority to retain the services of A&M; and be it further

        RESOLVED, that the firm of Epiq Corporate Restructuring, LLC (“Epiq”) be, and
hereby is, engaged to act as notice, claims and balloting agent and to provide other related
services to the Company in the Bankruptcy Case; and in connection therewith, the Designated
Persons be and each of them, acting alone or in any combination, hereby is, authorized, directed
and empowered, on behalf of and in the name of the Company, to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon the filing of the Bankruptcy
Case, and to cause to be filed an appropriate application for authority to retain the services of
Epiq; and be it further

        RESOLVED, that in addition to the existing signatories of the Company, any Designated
Person, acting alone or in any combination, be, and hereby is, authorized to cause the Company to
employ other special counsel, financial advisors, investment bankers, accountants, restructuring




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                                                                                                3

advisors, notice, balloting and claims agents and other professionals as appropriate in connection
with the Bankruptcy Case and all related matters.

         General Authorizations

        RESOLVED, that in addition to the specific authorizations heretofore conferred upon the
Designated Persons, and in addition to the existing signatories of the Company, any of the
Designated Persons, acting alone or in any combination, be, and hereby is, authorized, directed
and empowered, in the name and on behalf of the Company, to do or cause to be done all such
further acts and things, including the payment of all fees, expenses, appropriate retainers and
other amounts payable by the Company with respect to the foregoing, and to execute, file (or
cause to be filed) and deliver all such other instruments, certificates, agreements and documents
as he or she may consider necessary or appropriate to enable the Company to carry out the intent
and to accomplish the purposes of the foregoing resolutions and perform the obligations of the
Company under the Bankruptcy Code; and be it further

         RESOLVED, that the Designated Persons be, and each of them acting alone is, hereby
authorized, directed and empowered from time to time in the name and on behalf of the
Company, to adopt resolutions and otherwise exercise the rights and powers of the Company as
such Designated Person may deem necessary, appropriate or desirable; and that thereupon such
resolutions shall be deemed adopted as and for the resolutions of each such subsidiary of the
Company; and be it further

        RESOLVED, that all actions heretofore taken by any officer or director of the Company
in connection with the foregoing resolutions, the Petition and related matters be, and they hereby
are, confirmed, ratified and approved in all respects.




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